                             UNITED ST ATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION

 BRANDON CALLIER,                                  §
                                                   §
                Plaintiff,                         §
 v.                                                §
                                                   §
 INFUSION CAPITAL GROUP, LLC, a                    §             EP-21-CV-00181-DCG
 New York Limited Liability Company,               §
 DREW MATTHEW HAGERMAN, and                        §
 MICHAEL BRINCAT,                                  §
                                                   §
                Defendants.                        §
                                                   §
                                                   §

                                 ORDER DISMISSING CASE

       Presently before the Court is Plaintiff Brandon Callier's "Motion to Dismiss with

Prejudice" (ECF. No. 3) filed pursuant to Federal Rule of Civi l Procedure 4 1(a)(I )(A)(i). In

view thereof, the Court enters the following orders:

       IT IS ORDERED that all claims asserted by Plaintiff Brandon Callier in this action

against Defendants Infusion Capital Group, LLC, Drew Matthew Hagerman, and Michael

Brincat are DISMISSED WITH PREJUDICE.

       IT IS FURTHER ORDERED that th~ D? trict Clerk shall CLOSE this case.

       So ORDERED and SIGNED this _l__ day of September 2021.




                                                       f>t\.ift4 C, ~ufL.).Q,,V-tr~ q__
                                                        05 01-~~e- +- Tu~ e_            r
